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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


SCOTT DENING,

                                              Case No.
           Plaintiff,
                                              1:23−cv−01117−HYJ−PJG

    v.                                        Hon. Hala Y. Jarbou

GLOBE LIFE AMERICAN INCOME
DIVISION, et al.,

           Defendants.
                                          /

                                      ORDER

       This matter is before the Court on defendants Globe Life American
Income Division and Globe Life, Inc.'s Motion for Protective Order − #26,
which was filed January 12, 2024. Effective September 28, 2015, Local Rule
7.1(d) was amended to require the following: "All nondispositive motions
shall be accompanied by a separately filed certificate setting forth in detail the
efforts of the moving party to comply with the obligation created by this rule."
W.D. Mich. LCivR 7.1(d); see Administrative Order No. 15−RL−78 (Sept. 11,
2015). The motion fails to comply with this requirement. Accordingly,

     IT IS ORDERED that defendants Globe Life American Income Division
and Globe Life, Inc.'s Motion for Protective Order − #26 is hereby held in
abeyance pending compliance with Local Rule 7.1(d).

      IT IS FURTHER ORDERED that movant shall file the certificate required
by Local Rule 7.1(d) within five days of the date of this Order. Failure to
timely file the certificate will result in the dismissal of the motion.

       IT IS FURTHER ORDERED that any response to the motion shall be
filed within fourteen days of the filing of the certificate, should the certificate be
filed.

         IT IS SO ORDERED.


Dated: January 16, 2024                   /s/ Phillip J. Green
                                         PHILLIP J. GREEN
                                         U.S. Magistrate Judge
